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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

      UNITED STATES OF AMERICA,                       Case No. 23-80101-CR
                                                      CANNON/REINHART
      vs.

      DONALD J. TRUMP,
      WALTINE NAUTA, and
      CARLOS DE OLIVEIRA,

                  Defendants.
      _____________________________________

                              DEFENDANTS’ PROPOSED SCHEDULE

            President Donald J. Trump, on behalf of all of the Defendants, respectfully submits (1) the

  Proposed Schedule set forth below in Part II in response to the Court’s February 27, 2024 Order;

  and (2) the Introduction set forth in Part I, which addresses “pertinent topics relating to

  scheduling,” ECF No. 338 ¶ 1.

       I.   Introduction

            As the leading candidate in the 2024 election, President Trump strongly asserts that a fair

  trial cannot be conducted this year in a manner consistent with the Constitution, which affords

  President Trump a Sixth Amendment right to be present and to participate in these proceedings 1 as

  well as, inter alia, a First Amendment right that he shares with the American people to engage in

  campaign speech.2


  1
    See, e.g., Illinois v. Allen, 397 U.S. 337, 338 (1970) (“One of the most basic of the rights
  guaranteed by the Confrontation Clause is the accused's right to be present in the courtroom at
  every stage of his trial.”); United States v. Nunez, 1 F.4th 976, 991 (11th Cir. 2021) (“The
  Constitution guarantees criminal defendants a meaningful opportunity to present a complete
  defense.”)
  2
    Snyder v. Phelps, 562 U.S. 443, 452 (2011) (“[S]peech concerning public affairs is more than
  self-expression; it is the essence of self-government.” (cleaned up)); Rosenberger v. Rector &
  Visitors of Univ. of Virginia, 515 U.S. 819, 829 (1995) (“When the government targets not subject
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          Given President Trump’s status as the presumptive Republican nominee and President

  Biden’s chief political rival, a trial this year would also violate Justice Manual § 9-85.500, which

  applies to the Special Counsel’s Office, and prohibits “Actions that May Have an Impact on an

  Election,” as well as established DOJ norms that former officials described—when talking about

  Hillary Clinton rather than President Trump—as consisting of “a general principle of avoiding

  interference in elections.”3 In fact, in November 2020, when Deputy Special Counsel J.P. Cooney

  and his colleagues were seeking to forestall valid investigations of election fraud that supported

  President Trump’s position regarding the 2020 election, he sent a letter to then-Attorney General

  William Barr invoking DOJ’s “longstanding policy of non-interference in elections,” which he

  wrote had been in place for “decades” and “protected the institution from the appearance of

  political partisanship.”4 The Special Counsel, Deputy Special Counsel Cooney, and their staff now

  act contrary to these authorities, with the, politically based and calculated, support of the Biden

  Administration and Attorney General Garland, by seeking to rush this case to trial on a schedule




  matter, but particular views taken by speakers on a subject, the violation of the First Amendment
  is all the more blatant.”); Meyer v. Grant, 486 U.S. 414, 425 (1988) (reasoning that speech “at the
  core of our electoral process” is “an area . . . where protection of robust discussion is at its zenith”
  (cleaned up)); see also Packingham v. North Carolina, 582 U.S. 98, 104 (2017) (recognizing the
  right to “speak and listen, and then . . . speak and listen once more,” as a “fundamental principle
  of the First Amendment”); Virginia State Bd. of Pharmacy v. Virginia Citizens Consumer Council,
  Inc., 425 U.S. 748, 756 (1976) (“Freedom of speech presupposes a willing speaker. But where a
  speaker exists, . . . the protection afforded is to the communication, to its source and to its recipients
  both.”).
  3
    Office of the Inspector General, U.S. Department of Justice, A Review of Various Actions by the
  Federal Bureau of Investigation and Department of Justice in Advance of the 2016 Election at 18
  (June 2018), available at https://www.justice.gov/file/1071991/download.
  4
    Letter from DOJ Attorneys J.P. Cooney, Liz Aloi, & Molly Gaston to Attorney General William
  P. Barr (Nov. 12, 2020), available at https://www.justice.gov/oip/foia-library/foia-
  processed/general_topics/2020_presidential_election_06_03_22_part_2/download.         Cooney
  entered a notice of appearance in this case on January 30, 2024. ECF No. 274.

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  without precedent in any other prosecution that involved the nature and extent of the Espionage

  Act charges, CIPA litigation, and classified discovery in this case.

         Nevertheless, of course, President Trump respects that the Court issued an Order directing

  the parties to submit scheduling proposals. Moreover, through recently filed motions to compel

  disclosures and to dismiss the Indictment, President Trump seeks to timely vindicate important

  rights through these proceedings, including his motions to dismiss pursuant to the Presidential

  Records Act, presidential immunity, and based on selective and vindictive prosecution—for which

  significant disclosures and fact-finding will be necessary. In addition, yesterday’s Order by the

  Supreme Court agreeing to review the D.C. Circuit’s erroneous decision in United States v. Trump,

  91 F.4th 1173 (D.C. Cir. 2024), was an important step toward the protection of the U.S.

  Constitution and fair system of justice that President Trump seeks in this District and elsewhere.

  See Trump v. United States, Dkt. Nos. 23-939, 23A745, 2024 WL 833184 (Feb. 28, 2024). The

  Justices’ anticipated ruling will provide guidance as Your Honor evaluates President Trump’s

  motion to dismiss the case based on presidential immunity. President Trump respectfully submits

  that all of these considerations are relevant as the Court considers proposed schedules for the

  remainder of this unlawful case.

   II.   Proposed Schedule

         As directed, except as shaded in blue for Defendant Waltine Nauta, the proposed dates are

  joint on behalf of all of the Defendants. Rows shaded gray indicate currently known dates of

  unavailability for the Defendants or counsel.         The Defendants reserve the right to seek

  adjournments of any schedule based on, for example, continued non-compliance with discovery

  obligations by the Special Counsel’s Office, the Office’s failure to abide by representations made

  by them to the Court during the summer of 2023 regarding the timing and scope of discovery, non-



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  compliance (or untimely compliance) with any of the Court’s orders by the Intelligence

  Community or other agencies (such as NARA), and prejudicial pretrial publicity as the scheduled

  trial date approaches.

         Consistent with the Introduction and reiterating the position that a fair trial cannot be held

  until after the 2024 Presidential election is concluded, the Defendants’ proposed schedule does not

  include a date for a hearing on President Trump’s motions to dismiss based on presidential

  immunity, the Appointments Clause, and the Appropriations Clause. The Defendants respectfully

  request that the Court schedule that hearing at a convenient time of mutual availability following

  the Supreme Court’s ruling in Trump v. United States.

                                     Event                                          Proposed Date
   Primaries / Caucuses: Idaho, Michigan, Missouri                               March 2, 2024
   Primaries / Caucuses: District of Columbia                                    March 3, 2023
   Primaries / Caucuses: North Dakota                                            March 4, 2024
   Primaries / Caucuses: Alabama, Alaska, Arkansas, California, Colorado,        March 5, 2024
   Maine, Massachusetts, Minnesota, North Carolina, Oklahoma,
   Tennessee, Texas, Utah, Vermont, Virginia, American Samoa
   Primaries / Caucuses: Georgia, Hawaii, Mississippi, Washington                March 12, 2024
   Defense reply in support of motion to dismiss based on selective and          March 12, 2024
   vindictive prosecution
   Hearing (evidentiary as necessary) on defense motions relating to             March 12, 2024
   Presidential Records Act and vagueness challenge to 18 U.S.C. § 793(e)
   Hearing on defense motions to compel (evidentiary as necessary) and for       March 13, 2024
   disclosures relating to selective and vindictive prosecution (non-
   evidentiary)
   Hearing on defense motions to compel (evidentiary as necessary) and for       March 14, 2024
   disclosures relating to selective and vindictive prosecution (non-
   evidentiary) (2nd day if necessary)
   Primaries / Caucuses: Northern Mariana Islands, Guam                          March 15, 2024
   Primaries / Caucuses: Arizona, Florida, Illinois, Kansas, Ohio                March 19, 2024



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                                     Event                                      Proposed Date
   Hearing on defense motions to compel (evidentiary as necessary) and for    March 20, 2024
   disclosures relating to selective and vindictive prosecution (non-
   evidentiary)
   Hearing on defense motions to compel (evidentiary as necessary) and for    March 21, 2024
   disclosures relating to selective and vindictive prosecution (non-
   evidentiary) (2nd day if necessary)
   Primaries / Caucuses: Louisiana                                            March 23, 2024
   Scheduled estimates for jury selection and trial in People v. Trump (New   March 25, 2024 -
   York Supreme Court)                                                        May 10, 2024
   Primaries / Caucuses: Connecticut, Delaware, New York, Rhode Island,       April 2, 2024
   Wisconsin
   Primaries / Caucuses: Puerto Rico                                          April 21, 2024
   Argument in Trump v. United States, Dkt. Nos. 23-939, 23A745               Week of
                                                                              April 22, 2024
   Primaries / Caucuses: Pennsylvania                                         April 23, 2024
   Primaries / Caucuses: Indianna                                             May 7, 2024
   Primaries / Caucuses: Maryland, Nebraska, West Virginia                    May 14, 2024
   Deadline for any required government disclosures in response to motions    May 20, 2024
   to compel (including privilege logs) and regarding selective and
   vindictive prosecution
   Primaries / Caucuses: Kentucky, Oregon                                     May 21, 2024
   Defense motions concerning sufficiency of any disclosures in response to   May 27, 2024
   motions to compel (including any privilege logs)
   Deadline for (1) government’s Jencks Act and Giglio disclosures            May 27, 2024
   (classified and unclassified), and (2) any required government
   disclosures regarding selective and vindictive prosecution
   Government response to defense motions regarding sufficiency of any        June 3, 2024
   disclosure in response to motions to compel (including any privilege
   logs)
   Primaries / Caucuses: Montana, New Jersey, New Mexico, South Dakota        June 4, 2024
   Defense CIPA § 5 notice                                                    June 17, 2024
   Government response to CIPA § 5 notice                                     June 24, 2024
   Government motions pursuant to CIPA § 6(a), to admit evidence              July 1, 2024
   pursuant to “Silent Witness Rule,” and for any related protective

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                                  Event                                          Proposed Date
   measures concerning evidence handling, witness identities, and juror
   anonymity at trial
   Hearing (evidentiary) on defense motions relating to prosecutorial          July 1, 2024
   misconduct and Count 19
   Government disclosures pursuant to CIPA § 6(b)                              July 1, 2024
   Deadline for filing of any motions in limine, proposed jury instructions,   July 1, 2024
   and supplemental requests concerning jury questionnaires and voir dire
   Deadline for filing of any motion to introduce evidence under Fed. R.       July 1, 2024
   Evid. 404(b)
   Deadline for government disclosures regarding witness list, exhibit list    July 1, 2024
   Hearing (non-evidentiary) on selective and vindictive prosecution as well   July 2 2024
   as remaining motions to dismiss and any discovery deficiencies
   Hearing (non-evidentiary) on selective and vindictive prosecution as well   July 3, 2024
   as remaining motions to dismiss and any discovery deficiencies (2 nd day
   if necessary)
   Government’s Rule 16 supplemental expert disclosures                        July 8, 2024
   Hearing (evidentiary) on defense motions to dismiss, to suppress, and for   July 8, 2024
   a Franks hearing relating to Mar-a-Lago search, crime-fraud exception,
   and other search warrants
   Hearing (evidentiary as necessary) on sufficiency of CIPA § 5 notice        July 9, 2024
   [secure space]
   Defense reciprocal discovery and expert disclosures under Fed. R. Crim.     July 15, 2024
   P. 16(b)(1)(A), 16(b)(1)(C)
   Defense responses to motions pursuant to CIPA § 6(a), motions in limine, July 15, 2024
   and motions concerning Rule 404(b) evidence
   Republican National Convention                                              July 15-18, 2024
   Counsel for Defendant Nauta scheduled for a three-week trial in the         July 15, 2024 -
   United States District Court for the District of Columbia                   August 2, 2024
   Joint Discovery Status Report                                               July 17, 2024
   Government replies regarding motions pursuant to CIPA § 6(a), motions       July 17, 2024
   in limine, and motions concerning Rule 404(b) evidence
   Hearing (non-evidentiary) on motions in limine and motions concerning       July 22, 2024
   Rule 404(b) evidence
    *Contingent on Counsel for Nauta continuing a scheduled trial


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                                    Event                                 Proposed Date
   Court administration of jury questionnaires                          July 22, 2024
   Government reply regarding motions pursuant to CIPA § 6(a) and for   July 22, 2024
   related relief
   CIPA § 6(a) hearing [secure space]                                   July 23, 2024
    *Contingent on Counsel for Nauta continuing a scheduled trial
   CIPA § 6(a) hearing [secure space] (2nd day if necessary)            July 24, 2024
    *Contingent on Counsel for Nauta continuing a scheduled trial
   CIPA § 6(a) hearing [secure space] (3 rd day if necessary)           July 25, 2024
    *Contingent on Counsel for Nauta continuing a scheduled trial
   CIPA § 6(a) hearing [secure space] (4th day if necessary)            July 26, 2024
    *Contingent on Counsel for Nauta continuing a scheduled trial
   Brand Woodward Law, LP unavailable (Personal)                        July 30-31, 2024
   Government’s CIPA § 6(c) motion (if necessary)                       July 31, 2024
   Defense response to government CIPA § 6(c) motion (if necessary)     August 2, 2024
   Joint submission regarding for-cause challenges based on jury        August 2, 2024
   questionnaires
   Counsel for Defendant Nauta Unavailable for Personal Reasons         August 5, 2024 -
                                                                        August 23, 2024
   Hearing on remaining CIPA issues/calendar call                       August 5, 2024
   Government’s reply regarding CIPA § 6(c) motion (if necessary)       August 7, 2024
   Commence in-court voir dire and trial (Trump and De Oliveira)        August 12, 2024
   Hearing on remaining CIPA issues/calendar call                       August 26, 2024
   Commence in-court voir dire and trial (Nauta)                        September 9, 2024




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   Dated: February 29, 2024              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I, Christopher M. Kise, certify that on February 29, 2024, I electronically filed the

  foregoing document with the Clerk of Court using CM/ECF.

                                                /s/ Christopher M. Kise
                                                Christopher M. Kise
